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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT COURT OF OREGON
                                 PORTLAND DIVISION


 JUSTIN BURLEY-BEAVERS,              *
 an individual,                      *
                                     *
         PLAINTIFF,                  *
 v.                                  *
                                     *                Case No. 3:24-CV-00877
 SPITZNAGEL FAMILY, LLC,             *
 a limited liability company, PLAID  *
 PANTRIES, INC., a domestic business *
 corporation, and 76 GAS STATION, an *
 Oregon business,                    *

        DEFENDANTS.



                                          COMPLAINT

        Plaintiff Justin Burley-Beavers (“Burley-Beavers” or “Plaintiff”) hereby sues Defendants,

SPITZNAGEL FAMILY, LLC, a limited liability company, PLAID PANTRIES, INC., a domestic

business corporation, and 76 GAS STATION, an Oregon business (hereinafter “Defendants”)

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”), and its

implementing regulations, the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”)

and alleges as follows:

                                PRELIMINARY STATEMENT

       1.       Though not required by the ADA, Plaintiff attempted to resolve this matter prior

to filing the present complaint but was unable to do so.

       2.       Defendants’ ADA violations create real and significant barriers to entry for

disabled persons such as Plaintiff. Pursuant to Title III of the ADA, Plaintiff seeks declaratory

and injunctive relief requiring Defendant to (1) remedy the violations identified herein and (2)

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enact and adhere to a policy that ensures the proper maintenance of the property to avoid future

ADA violations.

                                  JURISDICTION AND PARTIES

        3.       This is an action for declaratory and injunctive relief pursuant to Title III of the

ADA. This Court is vested with original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendants

failure to remove physical barriers to access and violations of Title III of the ADA.

        4.       Venue is properly located in the DISTRICT COURT OF OREGON IN THE

PORTLAND DIVISION pursuant to 28 U.S.C. § 1391(b) because venue lies in the judicial district

of the property situs or the judicial district in which a substantial part of the events or omissions

giving rise to Plaintiff’s claims occurred. The Defendant’s property is located in and does business

within this judicial district and all events giving rise to this lawsuit occurred in this judicial district.

        5.       Plaintiff, Justin Burley-Beavers, is and has been at all times relevant to the instant

matter, a natural person residing in Oregon and is sui juris.

        6.       Plaintiff is an individual with disabilities as defined by the ADA.

        7.       Plaintiff is substantially limited in performing one or more major life activities,

including but not limited to: walking and standing.

        8.       Plaintiff uses a wheelchair for mobility purposes.

        9.       Plaintiff is also an independent advocate of the rights of similarly situated disabled

persons and is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring,

determining and ensuring whether places of public accommodation are in compliance with the

ADA. Plaintiff’s motivation to return to a location, in part, stems from a desire to utilize ADA

litigation to make his home community more accessible for Plaintiff and others; and pledges to do


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whatever is necessary to create the requisite standing to confer jurisdiction upon this Court so an

injunction can be issued correcting the numerous ADA violations on the Subject Property,

including returning to the Subject Property as soon as it is accessible (“Advocacy Purposes”).

       10.     Defendant SPITZNAGEL FAMILY, LLC is a limited liability company

conducting business in the State of Oregon and within this judicial district. Defendant PLAID

PANTRIES, INC. is a domestic business corporation doing business in Oregon, and Defendant 76

GAS STATION is a business conducting business in the State of Oregon.

                                  FACTUAL ALLEGATIONS

       11.     On or about October of 2023, Plaintiff attempted to but was deterred from

patronizing and/or gaining equal access as a disabled patron to the 76 Gas Station located at 10218

Southeast Highway 212, Clackamas, OR 97015 (“Subject Facility”, “Subject Property”).

       12.     SPITZNAGEL FAMILY, LLC and PLAID PANTRIES, INC. are the owner,

lessor, and/or operator/lessee of the real property and improvements that are the subject of this

action, specifically the 76 Gas Station and its attendant facilities, including vehicular parking and

common exterior paths of travel within the site identified by the Clackamas County Assessor

parcel identification number 00478619 (“Subject Facility”, “Subject Property”).

       13.     Plaintiff lives within thirty (30) miles of the Subject Property. Because the Subject

Property is located on Hwy 212, a Clackamas County thoroughfare that he frequents routinely, he

is often where the Subject Property is located and travels in and about the immediate area of the

Subject Property numerous times every month, if not every week.

       14.      Plaintiff’s access to the Subject Property and/or full and equal enjoyment of the

goods, services, facilities, privileges, advantages and/or accommodations offered therein were

denied and/or limited because of his disabilities, and he will be denied and/or limited in the future


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unless and until Defendants are compelled to remove the physical barriers to access and correct

the ADA violations that exist at the Subject Property, including those set forth in this Complaint.

       15.     Plaintiff has visited, i.e. attempted to patronize, the Subject Property on multiple

prior occasions, and at least once before as a patron and advocate for the disabled. Plaintiff intends

on revisiting the Subject Property within six months of the filing of this Complaint or sooner, as

soon as the barriers to access detailed in this Complaint are removed. The purpose of the revisit is

to be a regular patron to determine if and when the Subject Property is made accessible, and to

maintain standing for this lawsuit for Advocacy Purposes.

       16.     Plaintiff intends on revisiting the Subject Property to enjoy the same experiences,

goods, and services available to Defendant’s non-disabled patron as well as for Advocacy

Purposes, but does not intend to continue to repeatedly re-expose himself to the ongoing barriers

to equal access and engage in the futile gesture of attempting to patronize the Subject Property, a

business of public accommodation known to Plaintiff to have numerous and continuing barriers to

equal access for wheelchair users.

       17.     Plaintiff recently traveled to the Subject Property as a patron and as an independent

advocate for the disabled, encountered and/or observed the barriers to access that are detailed in

this Complaint, engaged those barriers where physically possible, suffered legal harm and legal

injury, and will continue to suffer such harm and injury as a result of the illegal barriers to equal

access present at the Subject Property.

       18.     Plaintiff has a fundamental right as established under the ADA to patronize any

place of public accommodation as any person who is not disabled has.




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       19.      Plaintiff’s day-to-day life has been negatively affected by the barriers to entry at

the Subject Property, as his fundamental right to patronize any place of public accommodation at

his choosing has been diminished by Defendants’ non- compliance with the ADA.

       20.     Plaintiff has no obligation to only patronize places of public accommodation that

are ADA compliant.

       21.     If barriers to entry are not removed at the Subject Property, it will place undue

hardship, cause Plaintiff loss of opportunity, and unduly force Plaintiff to “search” for a place of

public accommodation to patronize that is ADA compliant.

                      COUNT I – CLAIM FOR INJUNCTIVE RELIEF
                         (Against Defendant for ADA Violations)

       22.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993, if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       23.     The Subject Property is a public accommodation and service establishment.

       24.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the Department

of Justice and Office of Attorney General promulgated federal regulations to implement the

requirements of the ADA. 28 C.F.R. Part 36.

       25.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993, if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       26.     The Subject Property must be, but is not, in compliance with the ADA and the

ADAAG.

       27.     Plaintiff has attempted to, and has to the extent possible, accessed the Subject

Property in his capacity as a patron at the Subject Property and as an independent advocate for

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the disabled, but could not fully do so because of his disabilities resulting from the physical

barriers to access, dangerous conditions and ADA violations that exist at the Subject Property

that preclude and/or limit his access to the Subject Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      28.     Plaintiff intends to visit the Subject Property again in the very near future as a

patron and as an independent advocate for the disabled, in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly offered to able-

bodied patrons of the Subject Property but will be unable to fully do so because of his disability

and the physical barriers to access, dangerous conditions and ADA violations that exist at the

Subject Property that preclude and/or limit his access to the Subject Property and/or the goods,

services, facilities, privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this Complaint.

      29.     Defendant has discriminated against Plaintiff (and others with disabilities) by

denying his access to, and full and equal enjoyment of the goods, services, facilities, privileges,

advantages and/or accommodations of the Subject Property, as prohibited by, and by failing to

remove architectural barriers as required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      30.     Defendants will continue to discriminate against Plaintiff and others with

disabilities unless and until they are compelled to remove all physical barriers that exist at the

Subject Property, including those specifically set forth herein, and make the Subject Property

accessible to and usable by Plaintiff and other persons with disabilities.

      31.     A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed that precluded and/or limited his access


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to the Subject Property and the full and equal enjoyment of the goods, services, facilities,

privileges, advantages and accommodations of the Subject Property include but are not limited

to:


                            ACCESSIBLE ROUTES/PARKING


             a. The paint delineating the designated accessible parking space
                 and access aisle is not being maintained so that it clearly marks
                 the accessible parking location in violation of 28 CFR § 36.211,
                 Section 4.6 of the 1991 ADAAG, and Section 502 of the 2010
                 ADAAG.

             b. The purported designated accessible parking space is not level
                 in all directions and has areas of uneven, broken, and cracked
                 pavement because of Defendant’s history and practice of failing
                 to inspect and maintain the parking surface in violation of 28
                 CFR § 36.211, Sections 4.6.3 of the 1991 ADAAG and Sections
                 302 and 502.4 of the 2010 ADAAG.

             c. The purported accessible aisle is not level in all directions and
                 has areas of uneven, broken, and cracked pavement because of
                 Defendant’s history and practice of failing to inspect and
                 maintain the parking surface in violation of 28 CFR § 36.211,
                 Sections 4.6.3 of the 1991 ADAAG and Sections 302 and 502.4
                 of the 2010 ADAAG.

             d. The plaintiff could not safely utilize the parking facility because
                 the designated accessible parking space within the parking
                 facility is not level and has a downward slope in violation of 28
                 CFR § 36.211, Section 4.6.3 of the 1991 ADAAG and Section
                 502.4 of the 2010 ADAAG.

             e. The plaintiff could not safely utilize the parking facility because
                 the designated accessible aisle within the parking facility is not
                 level and has a downward slope in violation of 28 CFR § 36.211,
                 Section 4.6.3 of the 1991 ADAAG and Section 502.4 of the 2010
                 ADAAG.




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    f. The ramp to the accessible entrance (the only means of access to
       wheelchair users) has a run that exceeds the maximum slope
       requirement (8.33%) set forth in Section 4.7.2 of the 1991
       ADAAG and Section 406.1 of the 2010 ADAAG.

    g. The curb ramp at the storefront curb serving the tenant space
       entrances at the Subject Property has runs with abrupt changes
       in level at the bottom transitions from the parking surface to the
       ramp in violation of Section 4.3.8 of the 1991 ADAAG and
       Sections 303.3 and 303.4 of the 2010 ADAAG.

    h. The accessible route along the storefront curb on the Subject
       Facility was obstructed by vehicles parked in spaces abutting the
       accessible route because no parking stops are provided at said
       parking spaces. This allows parked vehicle overhangs to reduce
       the width of the path of travel to less than 36 inches wide for
       more than 24 linear inches in violation of Section 4.3.3 of the
       1991 ADAAG and Section 403.5.1 and 502.7 of the 2010
       ADAAG.

    i. The pressure setting on the accessible restroom door closer has
       not been maintained properly by Defendant, which has caused
       the pressure required to open/close the restroom door to increase
       with time and use such that the restroom door requires excessive
       force to open. Violation: The restroom door requires more than
       the maximum allowable opening force for an interior hinged
       door (5-foot pounds-force) in violation of Section 4.13.11 of the
       1991 ADAAG and Section 404.2.9 of the 2010 ADAAG
       Standards.

    j. The accessible restroom entrance door has a coat hook which is
       not at the required height. Violation: ADA-compliant door
       hardware is not provided on the restroom doors in violation of
       Section 4.13.9 of the 1991 ADAAG and Sections 309.4, 404.2.7,
       and 604.8.2 of the 2010 ADAAG.

    k. The plaintiff could not access the soap dispenser independently
       as it was mounted too high to reach. Violation: The soap
       dispenser in the accessible restroom is mounted at a
       noncompliant height in violation of the minimum reach ranges
       set forth in Section 4.2.5 and Figure 5 of the 1991 ADAAG and
       Section 308.3 of the 2010 ADAAG.

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                                MAINTENANCE PRACTICES

              a. Defendant has a practice of failing to maintain the accessible
                 features of the facility, creating barriers to access for the
                 Plaintiff, as set forth herein, in violation of 28 CFR § 36.211.
                 This practice prevented access to the plaintiff equal to that of
                 Defendant’s able-bodied customers causing Plaintiff loss of
                 opportunity.

              b. Defendant has a practice of failing to maintain the accessible
                 elements at the Subject Facility by neglecting their continuing
                 duty to review, inspect, and discover transient accessible
                 elements which by the nature of their design or placement,
                 frequency of usage, exposure to weather and/or other factors, are
                 prone to shift from compliant to noncompliant so that said
                 elements may be discovered and remediated.

              c. Defendant has failed and continues to fail to alter their
                 inadequate maintenance practices to prevent future recurrence
                 of noncompliance with dynamic accessible elements at the
                 Subject Facility in violation of 28 CFR § 36.211, the 1991
                 ADAAG, and the 2010 ADAAG. These violations, as set forth
                 hereinabove, made it impossible for Plaintiff to experience the
                 same access to the goods, services, facilities, privileges,
                 advantages and accommodations of the Subject Facility as
                 Defendant’s able-bodied patrons and caused Plaintiff loss of
                 opportunity.

              d. Defendant has failed to modify their discriminatory maintenance
                 practices to ensure that, pursuant to their continuing duty under
                 the ADA, the Subject Property remains readily accessible to and
                 usable by disabled individuals, including Plaintiff, as set forth
                 herein, in violation of 28 CFR § 36.302 and 36.211. This failure
                 by Defendant prevented access to the plaintiff equal to that of
                 Defendant’s able-bodied customers causing Plaintiff loss of
                 opportunity.

       32.    The discriminatory violations described above are not an exhaustive list of the

Defendant’s current barriers to equal access and violations of the ADA because Plaintiff was


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unable to access and assess all areas of the subject premises due to the architectural barriers

encountered. A complete list of the subject location’s ADA violations affecting the Plaintiff as a

wheelchair user, and the remedial measures necessary to remove same, will require an on-site

inspection by Plaintiff’s representatives pursuant to Federal Rule of Civil Procedure 34. Once the

Plaintiff personally encounters discrimination, as alleged above, or learns of discriminatory

violations through expert findings of personal observation, has actual notice that the Defendant

does not intend to comply with the ADA.

       33.     The Defendant has a practice of failing to maintain the accessible elements at the

Subject Property by neglecting their continuing duty to review, inspect, and discover transient

accessible elements which by the nature of its design or placement, frequency of usage, exposure

to weather and/or other factors, are prone to shift from compliant to noncompliant, so that said

elements are discovered and remediated. Defendant has failed and continue to fail to alter their

inadequate maintenance practices to prevent future recurrence of noncompliance with dynamic

accessible elements at the Subject Property in violation of 28 CFR §§ 36.202 and 36.211. These

violations, as referenced hereinabove, made it impossible for Plaintiff, as a wheelchair user, to

experience the same access to the goods, services, facilities, privileges, advantages and

accommodations of the Subject Property as Defendant’s able-bodied patrons.

       34.     Accessible elements at the Subject Property have been altered and/or constructed

since 2010.

       35.     The foregoing violations are violations of the 1991 ADAAG, and the 2010

ADAAG, as adopted by the U.S. Department of Justice. In instances where the 2010 ADAAG

standards do not apply, the 1991 ADAAG standards apply, and all of the alleged violations set

forth herein can be modified to comply with the 1991 ADAAG standards.


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       36.     The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       37.     Each of the violations alleged herein is readily achievable to modify to bring the

Subject Property into compliance with the ADA.

       38.     Removal of the physical barriers and dangerous conditions present at the Subject

Property is readily achievable because of the site conditions at the Subject Property, the structural

design of the subject facility, and the straightforward nature of the necessary modifications.

       39.     To assist businesses in offsetting the costs associated with complying with the ADA

and removing barriers to access for individuals with disabilities, Section 44 of the IRS Code

provides a tax credit for small business owners, and Section 190 of the IRS Code provides a tax

deduction for all business owners, including the Defendant.

       40.     Removal of the physical barriers and dangerous conditions at the Subject Property

is readily achievable because of the relative low cost of the necessary modifications and the

Defendant has the financial resources to make the modifications, including the financial assistance

made available to Defendant by the government pursuant to Section 44 and/or Section 190 of the

IRS Code.

       41.     By continuing to maintain and/or operate the Subject Property with discriminatory

conditions in violation of the ADA, Defendant contributes to Plaintiff’s sense of isolation and

segregation and deprive Plaintiff of the full and equal enjoyment of the goods, services, facilities,

privileges, and accommodations available to able bodied individuals of the general public.

       42.     Defendant is required to remove the existing architectural barriers to the physically

disabled when such removal is readily achievable for their places of public accommodation that


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have existed prior to January 26, 1992, 28 CFR 36.304(a); additionally, if there has been an

alteration to Defendant’s place of public accommodation since January 26, 1992, then Defendant

is required to ensure to the maximum extent feasible, that the altered portions of the facility are

readily accessible to and usable by individuals with disabilities, including people who use

wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facilities were designed and

constructed for first occupancy subsequent to January 26, 1993, as defined in 28 CFR 36.401, then

the Defendant’s facilities must be readily accessible to and useable by individuals with disabilities

as defined by the ADA. To date, Defendant has failed to comply with this mandate.

       43.     Plaintiff is without adequate remedy at law and is suffering irreparable harm and

reasonably anticipates that he will continue to suffer irreparable harm unless and until Defendants

are required to remove the physical barriers, dangerous conditions and ADA violations that exist

at the Subject Property, including those alleged herein. Considering the balance of hardships

between the Plaintiff and Defendant, a remedy in equity is warranted.

       44.     Plaintiff’s requested relief serves the public interest.

       45.     Plaintiff’s counsel is entitled to recover his reasonable attorneys’ fees and costs of

litigation from Defendants, pursuant to 42 U.S.C. §§ 12188, 12205 and 28 CFR 36.505. Plaintiff

will be denied full and equal access to the subject premises, as provided by the ADA unless the

injunctive relief requested herein is granted.

       46.     Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority to grant

Plaintiff injunctive relief; including an Order to alter the subject facilities to make them readily

accessible to, and useable by, individuals with disabilities to the extent required by the ADA, and

closing the subject facilities until the requisite modifications are completed, and ordering

Defendants to fulfill their continuing duty to maintain the accessible features at the premises in the


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future as mandated by 28 CFR 36.211.

      WHEREFORE, the Plaintiff prays as follows:

      A.     That the Court find Defendants in violation of the ADA and
             ADAAG;

      B.     That the Court enter an Order requiring Defendants to (i) remove the
             physical barriers to access and (ii) alter the Subject Property to make
             the Subject Property readily accessible to and useable by individuals
             with disabilities to the full extent required by Title III of the ADA;

      C.     That the Court enter an Order directing Defendants, pursuant to 28
             C.F.R. §36.211, to fulfill their continuing duty to maintain their
             accessible features and equipment so that the facility remains
             accessible to and useable by individuals with disabilities to the full
             extent required by Title III of the ADA;

      D.     That the Court enter an Order directing Defendants to implement
             and carry out effective policies, practices, and procedures to
             maintain the accessible features and equipment pursuant to 28
             C.F.R. §36.302 and 28 C.F.R. §36.211.

      E.     That the Court enter an Order directing Defendants to evaluate and
             neutralize their policies and procedures towards persons with
             disabilities for such reasonable time so as to allow them to undertake
             and complete corrective procedures;

      F.     An award of attorneys’ fees, costs (including expert fees), and
             litigation expenses pursuant to 42 U.S.C. § 12205 and an award of
             monitoring fees associated with insuring that the Defendants are in
             compliance with the ADA.

      G.     An award of interest upon the original sums of said award of
             attorneys’ fees, costs (including expert fees), and other expenses of
             suit; and

      H.     Such other relief as the Court deems just and proper, and/or is
             allowable under Title III of the Americans with Disabilities Act.




Dated this the May 30, 2024



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                        Respectfully submitted,

                        By: /s/ Jessica Molligan___
                        Jessica Molligan, OSB #001823
                        Counsel for Plaintiff




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